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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                         CRIMINAL ACTION
VERSUS
                                                         NO. 10-81-JJB
THOMPSON W. CHINWOH,
SAMUEL B. JOHNSON,
STEPHANIE DANGERFIELD, and
BRADIS D. HICKS, a/k/a Michelle Hicks

                             RULING AND ORDER

      This matter is before the Court on motions to sever filed by Defendants

Thompson W. Chinwoh (doc. 28), Stephanie Dangerfield (doc. 32), and Samuel

B. Johnson (doc. 34). The government filed an opposition (doc. 37). There is no

need for oral argument. For the following reasons, Defendants’ motions to sever

are DENIED.

                                   Background

      The defendants in this case are charged with numerous counts of health

care fraud and one count of conspiracy to commit health care fraud.            One

defendant, Bradis Hicks, a/k/a Michelle Hicks, is also charged with wrongful

disclosure of individually identifiable health care information. The defendants are

charged with these offenses in one indictment. Defendants Chinwoh, Johnson,

and Dangerfield have now moved for severance.
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                                Analysis and Conclusion

      Under the Federal Rules of Criminal Procedure, offenses may be charged

in the same indictment if those offenses are (1) of the same or similar character;

(2) based on the same act or transaction; or, (3) connected with or constitute

parts of a common scheme or plan. FED. R. CRIM. P. 8(a). Regarding joinder of

defendants, Rule 8(b) provides that the indictment “may charge 2 or more

defendants if they are alleged to have participated in the same act or transaction,

or in the same series of acts or transactions, constituting an offense or offenses.”

Rule 8(b) further provides, “[t]he defendants may be charged in one or more

counts together or separately.     All defendants need not be charged in each

count.”

      There is a well-recognized preference in the federal system for joint trials

of defendants who are indicted together. Zafiro v. U.S., 506 U.S. 534 (1993).

This preference particularly holds true in conspiracy cases. U.S. v. Stalnaker,

571 F.3d 428, 434 (5th Cir. 2009). Trying defendants together generally serves

the interests of justice and promotes efficiency. Zafiro, 506 U.S. at 537-38.

      Rule 14 of the Federal Rules of Criminal Procedure provides, “[i]f the

joinder of offenses or defendants in an indictment . . . or a consolidation for trial

appears to prejudice a defendant or the government, the court may order

separate trials of counts, sever the defendants’ trials, or provide any other relief

that justice requires” (emphasis added). The test for severance based on Rule

14 considers whether the jury could reasonably sort out the evidence and view
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each defendant and related evidence separately. U.S. v. Merida, 765 F.2d 1205,

1219 (5th Cir. 1985). If a trial court determines that cautionary instructions are

sufficient, severance is not required. Id.; Zafiro, 506 U.S. at 539. Indeed, “Rule

14 does not require severance even if prejudice is shown; rather it leaves the

tailoring of the relief to be granted, if any, to the district court’s sound discretion.”

Zafiro, 506 U.S. at 538-39.

      This court finds that the defendants were properly joined together, as they

are each charged with a role in the same conspiracy, which is part of the “same

series of acts or transactions, constituting an offense or offenses,” as required by

Rule 8(b).    The possibility of prejudice that could result from trying these

defendants together is minimal, at most. Instead of severance, this Court finds

that it can sufficiently mitigate the possibility of prejudice through jury instructions

and by continuing to monitor this case as it progresses to trial. See U.S. v.

Bullock, 71 F.3d 171, 175 (5th Cir. 1995) (also noting that juries are presumed to

follow the court’s instructions).      Therefore, the Court finds that in light of

alternative remedies, severance is not necessary to avoid possible prejudice.

      Accordingly, Defendants’ motions to sever (docs. 28, 32, and 34) are

hereby DENIED.

      Signed in Baton Rouge, Louisiana, on September 13, 2010.



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                                    JUDGE JAMES J. BRADY
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                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA
